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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE
 36 BUILDERS, INC., a Delaware corporation,       )
 doing business as INSIGHT HOMES, and             )
 INSIGHT LAND COMPANY, LLC, a                     )
 Delaware limited liability company,              )
                                                  )           C.A. No. 20-cv-1669-MN
                  Plaintiffs,                     )
                                                  )
          v.                                      )
                                                  )
 JACK HUTCHINS HAESE,                             )
                                                  )
                  Defendant.                      )

          PLAINTIFFS’ NOTICE OF ISSUANCE OF THIRD PARTY SUBPOENA
TO:     Daniel C. Herr, Esquire
        1225 North King Street
        Suite 1000
        Wilmington, Delaware 19801

        PLEASE TAKE NOTICE, pursuant to Federal Rule of Civil Procedure 45, that Plaintiffs

have caused the attached subpoena to be issued to NVR, Inc.

                                           FAEGRE DRINKER BIDDLE & REATH LLP
                                           /s/ Joseph C. Schoell
                                           Joseph C. Schoell (Del. Bar No. 3133)
                                           222 Delaware Avenue, Suite 1410
                                           Wilmington, Delaware 19801
                                           Tel: (302) 467-4200
                                           Email: joseph.schoell@faegredrinker.com
                                           Attorneys for Plaintiff-Counterclaim Defendant 36
                                           Builders, Inc., doing business as Insight Homes,
                                           and Plaintiff Insight Land Company, LLC
July 26, 2021
ACTIVE.133825334.01
